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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

ESTATE OF CHRISTOPHER BROOK               )
FISHBECK, et al.,                         )
                                          )
                  Plaintiffs,             )
                                          ) Civil Action No. 1:18-cv-02248-CRC
      v.                                  )
                                          )
THE ISLAMIC REPUBLIC OF IRAN, et al.,     )
                                          )
                  Defendants              )
__________________________________________)


               PLAINTIFFS’ MAY 25, 2022 DISCOVERY STATUS REPORT
        Plaintiffs submit this Status Report outlining the progress of discovery involving non-

parties to this matter.

        In compliance with the Court’s August 11, 2020 Order, Plaintiffs served nineteen (19)

subpoenas on non-parties, this included ten (10) subpoenas on United States governmental

agencies, and nine (9) subpoenas on financial institutions.

A. SUBPOENAS SERVED ON GOVERNMENTAL AGENCIES

        Plaintiffs served eight (8) subpoenas on the Department of Defense (“DOD”); one (1)

subpoena on the Department of Justice (“DOJ”); and one (1) subpoena on the Department of the

Treasury (“Treasury”). Plaintiffs’ counsel has been in contact with an attorney from the DOJ

regarding all of the governmental agency subpoenas.

                                          New Updates

        Discovery from Treasury. Treasury and Plaintiffs have agreed that Treasury will provide

an affidavit to Plaintiffs that will establish an evidentiary foundation for Treasury documents and

statements which are already publicly available. Treasury produced an executed declaration to
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Plaintiffs on March 30, 2022. Plaintiffs’ cite to and offered this declaration as evidence in support

of their Motion and Memorandum Regarding Defendants’ Material Support for the Subject

Terrorist Organizations filed on May 2, 2022. (Docs. 81; 81-1; & 85-1 at pp. 712-716 –“Exhibit

PX7 – Declaration of Ripley Quinby IV”)

        Discovery from DOD. Plaintiffs and DOD have been conducting regular meet and confers

throughout March, April, and May 2022 regarding the searching for and production of responsive

documents.

        Plaintiffs recently provided DOD with a list of 14 “priority” bellwether attacks upon which

DOD should focus its present attack-specific discovery efforts (narrowed down from the list of 49

bellwether attacks).

        As of the date of this Status Report, Plaintiffs’ understanding is that the CIDNE database

has still not been restored. However, DOD informed Plaintiffs there is a software program called

“WebTAS” that enables DOD to search the CIDNE data even while the CIDNE database is

inactive. On May 10, 2022, DOD produced 237 pages of documents that were obtained using the

WebTAS software (for a total of 270 pages produced by DOD thus far).

        The documents produced by DOD reference other associated documents and media files

which are relevant and which Plaintiffs have requested be produced. DOD will be conducting

searches for those associated documents and media files for the 14 “primary” bellwether attacks

identified by Plaintiffs.

        Furthermore, through the meet and confer process Plaintiffs and DOD have identified three

other databases that can be searched for relevant documents, namely the “Content Manager”

database, the “Catapult” database, and the “WEAT” database.




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       Plaintiffs have requested DOD conduct searches on all four databases (CIDNE, Content

Manager, Catapult, and WEAT) for relevant documents for the 14 “primary” bellwether attacks to

determine which databases actually contain relevant (and non-duplicative) documents and the

corresponding burden of searching for and producing documents from each database. DOD has

agreed to search the CIDNE database (using the WebTAS software) and the Content Manager

database, but has not yet agreed to search the Catapult or WEAT databases.

       Plaintiffs informed DOD that Plaintiffs need to have full production from DOD for the 14

“primary” bellwether attacks in (roughly) the next 60 days for Plaintiffs to meet their deadlines.

       Finally, Plaintiffs have continued to request a meet and confer with subject matter experts

and/or IT personnel at DOD so we can discuss the various DOD databases and the exact search

capabilities of each so Plaintiffs and DOD can find the most efficient and least burdensome method

of locating the requested documents. Plaintiffs are still awaiting a response from DOD to our

request to have a meet and confer with DOD subject matter experts and/or IT personnel.

                                           Old Updates

       Discovery from DOD. Below is a summary of the bellwether discovery plan:

           •   DOD’s initial efforts will focus on a subset of attacks (49 attacks).

           •   Plaintiffs have identified a limited number of discrete documents for each attack
               which they have requested DOD locate and produce as soon as possible (e.g.,
               Significant Activity Reports, Casualty Reports, EOD Storyboards, WIT Reports,
               and CEXC Reports).

           •   The discrete documents can be searched for using an attack-specific identifying
               number, like a “Report Key” and/or a “Tracking Number.” An example of a Report
               key is: “1E0043DA-6354-4D50-A964-25EDE24CEB2D”, and an example of a
               Tracking Number is: “2006-263-054734-0963”. These numbers essentially serve
               as attack-specific search terms.

           •   Plaintiffs have provided DOD with an attack-specific Report Key and/or Tracking
               Number for 45 of the 49 attacks (Plaintiffs have obtained these numbers from
               publicly available sources, if available).


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             •    The plan is to have DOD conduct searches for the requested documents—using the
                  attack-specific Report Key and Tracking Number as search terms. Plaintiffs and
                  DOD are also working to identify other search terms that can assist in locating the
                  requested documents. This should be the most efficient and least burdensome
                  method for locating and producing the requested documents.

         An issue has, however, arisen with the DOD databases. We have been informed by DOD

that one of the DOD databases (the CIDNE database) that contains these requested documents was

recently taken offline and cannot be searched at the present time. 1

         We understand DOD is in the process of getting the CIDNE database back online and will

be transferring all of the CIDNE data to another database, called Content Manager, and that the

searches for the requested documents (using the attack-specific Report Keys and Tracking

Numbers and possibly other search terms) can be conducted on Content Manager.

         Discovery from DOJ. DOJ has produced certain reports and documents from the FBI’s

Terrorist Explosive Device Analytical Center (TEDAC). DOJ and Plaintiffs continue to meet and

confer to determine whether additional responsive documents exist.

B. SUBPOENAS SERVED ON NON-PARTY FINANCIAL INSTITUTIONS

         New Updates. There are no new updates regarding the subpoenas served on non-party

financial institutions. Specific documents and data produced in discovery to date have been cited

to and proffered as evidence in support of Plaintiffs’ Motion and Memorandum Regarding

Defendants’ Material Support for the Subject Terrorist Organizations filed on May 2, 2022 ((Docs,

81; 81-1; & 81-1 at pp. 188-354, “Exhibit PX3 – Declaration of Peter Medvedev Piatetsky” (filed

under seal).



1
 The Combined Information Data Network Exchange (CIDNE) was considered the primary “knowledge management
system used within Iraq by [Coalition Forces] to store data and facilitate information retrieval and analysis.” See The
Center for Army Analysis, Deployed Analyst History Report Vol. 1 – Analytical Support to Combat Operations in
Iraq (2002-2011), p. 80. The CIDNE database has been the primary source of attack-related evidence for plaintiffs in
similar FSIA matters involving attacks in Iraq and Afghanistan.

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       Old Updates. Plaintiffs served subpoenas on nine (9) non-party banks and to date have

received production of documents from six (6) of the banks. The productions contain documents

and data related to Plaintiffs' allegations of material support provided by Defendants to terrorist

groups in Iraq, specifically Defendants NIOC, Bank Melli Iran, and Bank Markazi. Plaintiffs and

their experts are assessing this information to determine if any further discovery is necessary.

       Following the entry by the Court of the agreed upon protective orders on February 9, 2021

and March 12, 2021 (ECF. Nos. 53 & 58), Wells Fargo, Bank of China, Societe Generale, BNY

Mellon, Bank of America, and Intesa San Paolo made productions. With regard to Citibank and

JPMorgan, production has not yet been made, but communication is ongoing.

C. OTHER DISCOVERY

       Plaintiffs are continuing to obtain client-specific damages information such as medical

records and military records to support a motion for default judgment and any evidentiary

hearing(s) the Court deems necessary under 28 U.S.C. § 1608(e).



Dated: May 25, 2022.                          Respectfully submitted,
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                           Counsel for Plaintiffs




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                                     CERTIFICATE OF SERVICE
       I hereby certify that a copy of the foregoing has been served by electronic filing with the

Clerk via the CM/ECF system, which electronically notifies all registered participants. I declare

under penalty of perjury that the foregoing is true and correct.

Dated: May 25, 2022                                   Respectfully submitted,


                                                      By: /s/ Dustin B. Herman




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